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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                    No. 21 CR 371-1
         v.
                                                    Judge Matthew F. Kennelly
 VIVIANNA LOPEZ


                GOVERNMENT’S SENTENCING MEMORANDUM

         For the reasons that follow, the government believes a sentence at the low end

of the Guidelines would be sufficient, but not greater than necessary, to accomplish

the goals of sentencing.

I.       PRELIMINARY ADVISORY SENTENCING GUIDELINES
         CALCULATION

         A.    Calculation

         The government agrees with the Criminal History and Sentencing Guidelines

calculations set forth in the Presentence Investigation Report. Defendant is a

Criminal History Category I, and her total offense level is 31, which combine for an

advisory range of 108-135 months’ imprisonment. This calculation is based on a total

amount laundered of at least $869,303.32—a number arrived at by the calculations

of IRS Special Agent Jennifer Guest, as set forth in Exhibit A to the Government’s

Version of the Offense.

         B.    Total Funds Involved in the Offense

         Defendant disagrees that the offense involved a total of at least $869,303.32.

As set forth in the Defendant’s Version of the Offense, defendant contends her retail
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purchases, student loan payments, and school tuition payments did not constitute

money laundering under § 1956(a)(1)(B)(i)—as construed by United States v.

Esterman, 324 F.3d 565, 570 (7th Cir. 2003)—because the transactions were not

designed to hide the provenance of the funds involved.

        In Esterman, the defendant stole money from a business partner by wiring the

funds from an account they shared to accounts Esterman alone controlled. Id. at 569.

Esterman then spent the money in “open and notorious” ways. Id. The Seventh

Circuit agreed that Esterman’s conduct did not meet the elements of § 1956(a)(1)(B)(i)

because Esterman made no effort to disguise or conceal either his withdrawals from

the shared account or the destinations of the funds he withdrew. Id. at 571. 1 The

court concluded (id. at 573):

        [A] conviction for money laundering under 18 U.S.C. § 1956(a)(1)(B)(i)
        is valid only where there is concrete evidence of intent to disguise or
        conceal transactions, whether that evidence comes directly from
        statements by the defendant that indicate an intent to conceal, or from
        circumstantial evidence like unusual secrecy surrounding transactions,
        careful structuring of transactions to avoid attention, folding or
        otherwise depositing illegal profits into the bank account or receipts of
        a legitimate business, use of third parties to conceal the real owner, or
        engaging in unusual financial moves culminating in a transaction.

        Here, all of defendant’s alleged transactions meet the test articulated in

Esterman. Defendant did not do as Esterman did—taking the crime proceeds and


1The court also took issue with whether there was a distinction between the underlying crime
that generated the proceeds and the subsequent disposition of those funds—with the statute
requiring that they be distinct transactions. Here, there is no such issue because the drug
trafficking that generated the proceeds was clearly distinct from defendant’s disposition of
the funds.

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sending it directly to retail vendors, her student loan servicer, or her children’s school.

Instead, defendant first took steps to disguise and conceal the source, nature, and

(often) ownership of the funds. First and foremost, defendant used third parties (her

aunt and sister) to conduct these transactions. With regard to retail purchases,

defendant had these third parties transform the nature of the cash drug proceeds,

including by having them (1) deposit the cash into their accounts and then spend the

money directly for defendant’s benefit, (2) deposit the cash into their account and then

pay down defendant’s credit card, and (3) convert the cash to money orders and

provide those to the vendors. Likewise, the school tuition was paid with money orders,

and defendant’s student loan payments were made via bank transfers from

defendant’s aunt’s Chase account.

       In sum, this was no case of spending money personally and directly after

generating the illegal proceeds. It was a multistep process intended to conceal the

nature of the funds and to distance the funds from defendant (who’d been under

scrutiny from the government going back to the turning in of the $4 million).

                                     *      *      *

       Defendant asks the question of how buying an exercise bike amounts to money

laundering, but that episode from this case is a perfect example of money laundering

as articulated by Esterman. Rather than take cash drug proceeds to the bike company

and order a bike, defendant’s aunt and sister were instead both used as

intermediaries to spend the drug money in a way designed to avoid the raising of


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eyebrows. Defendant told her aunt which bike and accessories to buy, and her aunt

shared the information with defendant’s sister. The sister then used her credit card

to make the purchase, and defendant’s aunt gave the cash drug proceeds to

defendant’s sister. This series of steps to make one purchase is a far cry from the

“open and notorious” conduct described in Esterman.

                                   *       *     *

      Defendant also objects to the government’s calculation of the funds in part

based on the ledgers they were recorded in. To alleviate any concerns, the government

will have the ledger exhibits available at the sentencing hearing and will be prepared

to walk the Court through them, to the degree necessary. However, these ledgers

simply reflect the conduct described above. All of these ledgers were recovered from

defendant’s aunt’s house. Laura Lopez kept meticulous notes of how she spent the

drug money as directed by defendant. The ledgers reflect the transfer of money

through bank transfers, money orders, and the paying down of credit cards.

      C.     Leadership

      Defendant object to the 4-level leadership enhancement, but this argument is

without merit. Defendant acknowledges she directed her sister and aunt, so the only

other question is whether the offense involved five or more people and it clearly did.

At a minimum, the offense involved defendant, her sister, her aunt, Valerie Gaytan,

and Armando Flores. Under Application Note 2 of Guideline §3B1.1, the defendant

need only have led at least one of them.


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II.   DEFENDANT SHOULD RECEIVE A SENTENCE AT THE LOW END
      OF THE GUIDELINES RANGE

      A sentence at the low end of the Guidelines range is sufficient, but not greater

than necessary, to comply with the principles set forth in 18 U.S.C. § 3553(a).

      A.     Nature and Circumstances of the Offense

      In summary, defendant stored away cash drug proceeds generated by her

husband and his brother. Defendant spent those proceeds between 2008 and 2020 in

ways she knew were designed to conceal the fact that it was leftover drug money.

Defendant did so even after she and her co-defendant, Valerie Gaytan, turned in about

$4 million in drug proceeds that was represented to the government as being the

remaining cash from the drug operation. This was false, however, and likely intended to

divert the government’s attention.

      In the course of this offense, some of the drug proceeds that remained available to

defendant were stored in Chicago. Defendant lived outside of Chicago, however.

Accordingly, defendant’s sister (Bianca Finnigan) and aunt (Laura Lopez)—both of whom

lived in the Chicago area—helped defendant spend the cash drug proceeds in ways that

defendant knew were designed to conceal the fact that the funds involved were drug

proceeds. Defendant, Finnigan, and Laura Lopez did this through several methods. First,

at the direction of defendant, Laura Lopez sent quantities of defendant’s cash drug

proceeds via U.S. Priority Express mail to defendant and other individuals that

defendant specified. Second, at the direction of defendant, Laura Lopez purchased money

orders and gift cards using defendant’s cash drug proceeds and delivered or mailed them



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as defendant specified. Third, Laura Lopez deposited cash drug proceeds into her own

personal bank account and then used the funds to make payments on a credit card used

by defendant. Similarly, Finnigan gave defendant access to a credit card that was under

the name of Finnigan and her spouse, and defendant used this credit card to make

purchases. Finnigan then deposited cash drug proceeds at the bank and made payments

against the credit card balances. Fourth, Laura Lopez and Finnigan deposited cash drug

proceeds at the bank and used the funds to pay for products and services requested by

defendant. Fifth, Finnigan deposited cash drug proceeds into her savings account and

transferred funds to the bank account of defendant.

      B.     History and Characteristics of Defendant

      In aggravation, defendant grew up in a relatively stable home. She graduated

from high school and took post-secondary classes. Even during the course of the

offense, defendant started and ran her own business. In short, defendant had the

opportunity and capacity to earn a living through legitimate work. Nevertheless,

defendant chose instead to live off her husband’s ill gotten gains.

      In mitigation, defendant’s childhood had serious negative aspects. PSR ¶¶ 48-

49.

      C.     Need for the Sentence Imposed to Reflect the Seriousness of the
             Offense, Promote Respect for the Law, Provide Just
             Punishment, and Afford Adequate Deterrence

      This is a serious offense and defendant’s sentence should reflect that. The

drugs that were sold to generate the funds at issue undoubtedly caused harm to



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individuals within the United States both directly and indirectly. Individuals were

harmed directly because drug addiction ruins the lives of users and the lives of their

family members. But drug addiction also causes indirect harm to the community,

including by encouraging theft, burglary, and homelessness.

       Further, defendant’s offense persisted over a period of a decade or more, and it

consisted of many individual conscious decisions to continue to engage in the

conspiracy.

III.   GOVERNMENT’S PROPOSED TERMS OF SUPERVISED RELEASE

       Consistent with the Seventh Circuit’s guidance in United States v. Thompson,

777 F.3d 368 (7th Cir. 2015), the government recommends the imposition of a term

of supervised release of two years. In order to promote the sentencing objectives of

deterring recidivism, protecting the public, and assisting in the defendant’s

rehabilitation and reintegration into society, the government recommends that the

two-year term of supervised release include the conditions set forth below, which

largely echo those proposed by Probation:

       A.     Mandatory Conditions

       The following mandatory conditions would serve to afford adequate deterrence

to criminal conduct, protect the public, and assist in defendant’s rehabilitation:

       •      Not commit another federal, state or local offense;

       •      Not unlawfully possess a controlled substance;




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      •     Submit to the collection of a DNA sample from the defendant at the

            direction of the U.S. Probation Office if the collection of such a sample is

            authorized pursuant to 42 U.S.C. § 14135a(a);

      B.    Discretionary Conditions of Supervision

      The following conditions would serve to facilitate supervision by the probation

officer, thus assisting in encouraging the defendant’s compliance with the law and

deterring the defendant from future crimes:

      •     Remain within the jurisdiction where the defendant is being supervised,

            unless granted permission to leave by the court or a probation officer

            (Discretionary Condition #14);

      •     Report to the probation officer as directed by the probation officer

            (Discretionary Condition #15);

      •     Permit the probation officer to visit the defendant at home, work, at a

            community service location, or other reasonable location specified by a

            probation officer, at any reasonable time, and to confiscate any

            contraband in plain view of the officer (Discretionary Condition #16);

      •     Notify a probation officer promptly, within 72 hours, of any change in

            residence, employer, or workplace and, absent constitutional or other

            legal privilege, answer inquiries by a probation officer (Discretionary

            Condition #17);




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      •     Notify a probation officer within 72 hours of being arrested or questioned

            by a law enforcement officer (Discretionary Condition #18);

      •     Not enter into any agreement to act as an informer or special agent of a

            law enforcement agency without the permission of the Court (Special

            Condition #11).

      The following conditions would support the defendant’s rehabilitation and

reintegration into the community and would help ensure that the defendant is

engaged in lawful pursuits:

      •     Seek, and work conscientiously at, lawful employment or, if you are not

            gainfully employed, you shall pursue conscientiously a course of study

            or vocational training that will equip you for employment (Discretionary

            Condition #4);

      •     Refrain from knowingly meeting or communicating with any person

            whom the defendant knows to be engaged, or planning to be engaged, in

            criminal activity (Discretionary Condition #6);

      •     Refrain from excessive use of alcohol, and from use of a narcotics drug

            (Discretionary Condition #7);

      •     Refrain from possessing a firearm, destructive device, or other

            dangerous weapon (Discretionary Condition #8);




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      •     Participate, at the direction of a probation officer, in a mental health

            treatment program, and shall take any medications prescribed by the

            mental health treatment provider (Discretionary Condition #9);.

      •     If unemployed after the first 60 days of supervision, or if unemployed for

            60 days after termination or lay-off from employment, perform at least

            20 hours of community service per week at the direction of the U.S.

            Probation Office until gainfully employed. The amount of community

            service shall not exceed 200 hours (Special Condition #3);


IV.   CONCLUSION

      For the foregoing reasons, the government requests that the Court sentence

Vivianna Lopez to the low end of the Guidelines range.


                                      Respectfully submitted,

                                      MORRIS PASQUAL
                                      Acting United States Attorney


                                By:   /s/ Andrew C. Erskine
                                      ANDREW C. ERSKINE
                                      ERIKA L. CSICSILA
                                      Assistant U.S. Attorney
                                      219 South Dearborn Street, 5th Floor
                                      Chicago, Illinois 60604
                                      (312) 353-1875

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